     Case 3:21-cv-02056-W-RBB Document 11 Filed 04/13/22 PageID.44 Page 1 of 1



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 8                           UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
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11   MEGHAN HIBERT,                                    Case No.: 3:21-cv-2056 W (RBB)
12                                    Plaintiff,
                                                       ORDER GRANTING JOINT
13   v.                                                MOTION TO DISMISS WITH
                                                       PREJUDICE [DOC. 10]
14   MIDLAND CREDIT MANAGEMENT,
     INC.,
15
                                    Defendant.
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18        Pending before the Court is a joint motion to dismiss this action with prejudice.
19   Good cause appearing, the Court GRANTS the joint motion [Doc. 10] and DISMISSES
20   this case WITH PREJUDICE. Each party shall bear their own attorneys’ fees and costs.
21        IT IS SO ORDERED.
22   Dated: April 13, 2022

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